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7
                          UNITED STATES DISTRICT COURT
8
                       NORTHERN DISTRICT OF CALIFORNIA
9
10   FOCUS 15, LLC,                            Case No. 3:21-cv-01493-EMC

11               Plaintiff,                    FOCUS 15, LLC’S OPPOSITION TO
                                               DEFENDANTS’ MOTION TO
12               vs.                           DISMISS THE FIRST, SECOND,
13                                             AND SIXTH CAUSES OF ACTION
     NICO CORPORATION, a California            OF FOCUS 15’S FIRST AMENDED
14   Corporation; IAN MATTHEW                  COMPLAINT
     HANNULA, an individual; JOSEPH
15   PHILIP HALLER, an individual; and         Hearing
     DOES 1 to 50, inclusive,                  Date: June 3, 2022
16                                             Time: 1:30 PM
17               Defendants.                   Department: 5
                                               Judge: Hon. Edward M. Chen
18
     NICO CORPORATION, a California            Action Filed: March 3, 2021
19   Corporation, IAN MATTHEW                  Trial Date: Not Set
     HANNULA, an individual, and JOSEPH
20   PHILLIP HALLER, an individual;
21
                 Third-Party Plaintiffs
22
                 vs.
23
24   DENISE CASSANO, an individual;
     MAURIZIO DONADI, an individual;
25   ADVANCED ACCOUNTING
     SOLUTIONS, a Massachusetts
26   Corporation; and ROES 1 -50, inclusive;
27               Third-Party Defendants.
28


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1                   MEMORANDUM OF POINTS AND AUTHORITIES
2    I.     INTRODUCTION
3           Defendants NICO Corporation (“NICO”), Ian Matthew Hannula (“Hannula”),
4    and Joseph Phillip Haller (“Haller”) (referred to collectively as “Defendants”) engaged
5    in scheme to defraud unsuspecting creditors by obtaining loans Defendants had no
6    intention to pay back. Now that Defendants have been caught in their scheme,
7    Defendants attempt to downplay their scheme as a simple failure to pay back their
8    debts. However, Defendants actions show that their failure to payback those debts was
9    intended because their actions were part of a pattern aimed at enticing unsuspecting
10   creditors to make loans through false promises that Defendants knew they would not
11   keep. Thus, Defendants’ motion to dismiss should be denied for the following reasons:
12          First, Focus 15 has made a prima-facie showing for its Civil RICO and Civil
13   RICO Conspiracy causes of action. Focus 15 has plead with particularity the
14   underlying fraud that give rise to the RICO claims in compliance with Federal Rule of
15   Civil Procedure 9(b). Contrary to Defendants’ claim, case law makes clear that facts
16   surrounding contractual disputes may support a RICO claim. This is especially true
17   when Defendants knew that they did not intend to perform their contractual obligations
18   at the time they entered into the agreements. In addition, Focus 15 has adequately
19   plead a pattern on racketeering activity because Focus 15 has identified at least eleven
20   (11) different victims of Defendants scheme.
21          Second, Focus 15 has made a prima-facie showing for violations of the
22   California Business and Professions code § 17200 because Defendants defrauded at
23   least eleven (11) different creditors which included Focus 15.
24   II.    LEGAL STANDARD
25          In reviewing a motion to dismiss under Fed. R. Civ. P. 12(b)(6), the court must
26   assume the truth of all factual allegations and must construe all inferences from them
27   in the light most favorable to the nonmoving party. Toranto v. Jaffurs, 297 F. Supp. 3d
28   1073, 1084 (S. D. Cal. 2018). A plaintiff need not allege specific facts “beyond those
                                          1
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1    necessary to state his claim and the grounds showing entitlement to relief.” Bell
2    Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007). “A claim has facial plausibility
3    when the plaintiff pleads factual content that allows the court to draw the reasonable
4    inference that the defendant is liable for the misconduct alleged.” Ashcroft v. Iqbal,
5    556 U.S. 662, 678 (2009). A court may not dismiss a complaint when plaintiff has
6    alleged “enough facts to state a claim for relief that is plausible on its face”. Id. “When
7    ruling on a motion to dismiss, the Court may consider the facts alleged in the
8    complaint, the documents attached to the complaint, documents relied upon but not
9    attached to the complaint when authenticity is not contested, and matters of which the
10   Court takes judicial notice.” Toranto, 297 F. Supp. 3d at 1084.
11           If a complaint fails to state a plausible claim, “[a] district court should grant
12   leave to amend even if no request to amend the pleading has been made, unless it
13   determines that the pleading could not possibly be cured by the allegation of other
14   facts.” Lopez v. Smith, 203 F. 3d 1122, 1130 (9th Cir. 2000).
15   III.    RELEVANT FACTS
16           Between February 2016 and February 2017, Defendants took out four loans
17   totaling $225,000. These loans were evidenced by four promissory notes1. See First
18   Amended Complaint (“FAC”) ¶¶ 18-22; See also Request for Judicial Notice (“RJN”)
19   Exh 1. Under the terms of the promissory notes, Defendants promised to make
20   monthly principal payments on each of the notes by certain dates. Id. Defendants did
21   not make a single payment on the principal of any of the promissory notes. FAC ¶¶ 23,
22   24. Defendants never intended to pay back Focus 15 because Defendants have a
23   history of taking out loans and not paying them back. FAC ¶¶ 25-36. Defendants
24   borrowed money and/or obtained services from at least ten other creditors whom
25   Defendants did not pay back. FAC ¶¶ 25, 26.
26
27   1 Defendants entered into three promissory notes with Focus 15. Defendants also
28     entered into a promissory note with Golden Focus, LLC who assigned the note to
       Focus 15.
                                           2
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1          Defendants entered into an agreement with an individual named Hugo Ortega to
2    do production for NICO Corp.’s clothing. The production agreement was for $48,000.
3    Hugo Ortega produced NICO Corp.’s clothing as agreed, however, sometime after
4    Hugo produced and delivered the clothing to NICO Corp., one of Defendants
5    employees named Sherri Lane, received a call from one of Hugo Ortega’s employees
6    indicating Hugo Ortega had not been paid. FAC ¶ 27. Defendants refused to pay Hugo
7    Ortega. Id.
8          On or about September 15, 2016, Defendants obtained a $600,000 loan from an
9    individual named Evan Williams. In exchange, Evan Williams was to obtain 3% equity
10   in the company after a second round of loans. Defendants did not pay back the loan.
11   Defendants told one of their employees not to worry about paying back the loan
12   because it was allegedly not in writing. Subsequently, Defendants approached Evan
13   Williams to obtain a second loan which Evan William’s declined. FAC ¶ 28.
14         On or about November 19, 2012, Defendants obtained a $20,000 loan from an
15   individual named Wendy Dewalt at an 8% interest. The loan was to be paid back by
16   March 15, 2013. Defendants did not pay back the loan. Defendants knew that the loan
17   had not been repaid and intentionally waited for the statute of limitations to run to
18   avoid any liability to Wendy Dewalt. FAC ¶ 29.
19         Defendants obtained a $32,000 loan from an individual named David Pierce.
20   Defendants did not pay back the loan. Defendants did not intend to pay back the loan
21   because Defendants sought to determine their exposure to liability if there was no
22   written agreement. FAC ¶ 30.
23         Defendants obtained a $22,000 loan from one of their employees named Sherri
24   Lane. The loan originated from Defendants’ failure to pay Sherri Lane wages owed to
25   her. Defendants entered into an agreement with Sherri Lane to turn the wages owed to
26   her into a loan. Defendants did not pay Sherri Lane. FAC ¶ 31.
27
28
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1          Defendants entered into an agreement with a company named MH Architects to
2    do work at NICO Corp. MH Architects performed work totaling $5,000. Defendants
3    did not pay for the work performed. FAC ¶ 32.
4          Defendants obtained two loans from Bank of the West. On or about February
5    11, 2009, Defendants executed a promissory note with Bank of the West for $150,000
6    loan. The promissory note was secured by a personal guaranty signed by Defendants
7    and NICO Corps. property. Defendants agreed to make monthly payments on this loan.
8    On or about August 28, 2014, Defendants executed a change in terms of the February
9    agreement decreasing their credit limit to $75,000. Bank of the West assigned its
10   interest in the sums due to a company known as Jonathan Neil & Associates, Inc.
11   Defendants were sued in the San Francisco Superior Court because Defendants failed
12   and refused to pay back $73,000 owed. FAC ¶ 33(a).
13         On or about August 28, 2014, Defendants executed another promissory note
14   with Bank of the West in the amount of $61,506.64. The promissory note was also
15   secured by a personal guaranty signed by Defendants and NICO Corps. property.
16   Defendants again agreed to make monthly payments on the loan. Bank of the West
17   assigned its interest in the sums due to a company known as Jonathan Neil &
18   Associates, Inc. Defendants were sued in the San Francisco Superior Court because
19   Defendants failed and refused to pay back the $18,000 owed. FAC ¶ 33(b).
20         Defendants also obtained loans and did not repay those loans from other
21   institutions. The loans include but are not limited to a $50,000 from Wells Fargo Bank,
22   a $75,000 loan from an entity known as Little Leo Ltd, and a $170,000 loan from an
23   entity known as First Tennessee. FAC ¶ 34.
24         In total, Defendants obtained approximately $1,130,000 from at least eleven
25   creditors, including Focus 15, and did not pay back a single penny. FAC ¶ 35.
26         On October 2021, Defendants filed a motion on the pleadings on multiple causes
27   of action brought by Focus 15. On January 28, 2022, the Court granted Defendants’
28   motion in part. On February 24, 2022, Focus 15 filed a motion seeking leave to file a
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1    first amended cross-complaint. The motion was scheduled to be heard on March 31,
2    2022. However, the Court granted Focus 15’s motion without a hearing. RJN Exh. 2.
3    IV.    ARGUMENT
4           A. Focus 15 has Stated Causes of Action for Civil RICO and Civil RICO
5           Conspiracy
6           Under 18 U.S.C. § 1962(c) it is unlawful “for any person employed or
7    associated with any enterprise engaged in, or the activities of which affect, interstate or
8    foreign commerce, to conduct or participate, directly or indirectly, in the conduct of
9    such enterprise’s affair through a pattern of racketeering activity or collection of
10   unlawful debt.” The elements of a civil RICO claim are “(1) conduct, (2) of an
11   enterprise (3) through a pattern (4) of racketeering activity (known as ‘predicate acts’)
12   (5) causing injury to plaintiff’s ‘business or property’” Living Designs, Inc. v. E.I.
13   Dupont de Nemours and Co., 431 F. 3d 353, 361 (9th Cir. 2005).
14          Here, Focus 15 has stated causes of actions for its civil RICO claims because
15   Focus 15 has plead sufficient factual allegations to make a prima-facie showing for its
16   claims.
17          (1) Conduct
18          Focus 15 has plead sufficient factual allegations to establish Defendants’
19   unlawful conduct because Focus 15 plead with particularity Defendants’ scheme to
20   defraud Focus 15 and at least ten other creditors. The factual allegations plead in Focus
21   15’s first amended complaint establish that Defendants defrauded Focus 15 and at least
22   ten other creditors by obtaining approximately $1,130,000 in loans that Defendants did
23   not intend to pay back. FAC ¶¶ 18-36.
24          Defendants seek to downplay their scheme as a simple failure to pay back their
25   debts. However, the factual allegations plead by Focus 15 give rise to a reasonable
26   inference that Defendants failure to pay back those debts was intended because
27   Defendants’ actions show they made a conscious decision not to repay. The
28   transactions described in Focus 15’s first amended complaint establish that Defendants
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1    either (1) refused to pay, (2) waited for the statute of limitations to run to avoid any
2    liability for their failure to pay, or (3) claimed no repayment was necessary because the
3    agreements were allegedly not in writing. Examples abound:
4          Example 1 – Focus 15 Loans
5          Defendants obtained four loans totaling $225,000. Under the terms of the
6    promissory notes evidencing the loans, Defendants promised that they would begin
7    making principal payments on the loans on certain dates. FAC¶¶ 18-24; See also RJN
8    Exh. 1. Defendants never made any payments towards the principal on any of the
9    notes. Id. Defendants knew that they had an obligation to repay the loans because the
10   terms of their repayment were expressly stated in each of those notes. Id. When Focus
11   15 attempted to negotiate a repayment of loans, Defendants refused to pay back the
12   loans. FAC ¶ 43(a).
13         Example 2 – Hugo Ortega Production Agreement:
14         Defendants entered into a $48,000 production agreement with Hugo Ortega and
15   did not pay Hugo Ortega for the clothing he produced for NICO Corp. FAC ¶ 27.
16   Indeed, one of Hugo Ortega’s employees called Defendants seeking payment but
17   Defendants refused to pay Hugo Ortega. Id.
18         Example 3 – Bank of the West Loans
19         Defendants obtained two loans from Bank of the West which were assigned to
20   Jonathan Neil & Associates, Inc. Defendants spent approximately $91,000 from the
21   loans which Defendants did not pay back. Defendants were sued by Jonathan Neil &
22   Associates, Inc. in San Francisco Superior Court because Defendants refused to pay
23   back the $91,000 owed. FAC ¶ 33.
24         Example 4 –Wendy Dewalt Loan
25         Defendants obtained a $20,000 from Wendy Dewalt which was to be paid back
26   by March 2013. Defendants did not pay back the loan. Instead, Defendants
27   intentionally waited for the statute of limitations to run to shield themselves from any
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1    liability to Wendy Dewalt. FAC ¶ 29. This was not an isolated incident because
2    Defendants attempted to do the same to Focus 15.2
3          Example 5 – Evan Williams Loan
4          Defendants obtained a $600,000 loan from Evan Williams by promising a 3%
5    equity interest in the company after a second round of loans. Defendants did not pay
6    back the loan. When Defendants were asked by an employee about repaying the loan,
7    Defendants told the employee not to worry about paying the loan back because the
8    loan was allegedly not in writing. FAC ¶ 28.
9          Example 6 – David Pierce Loan
10         Defendants obtained a $32,000 loan from David Pierce. Defendants did not pay
11   back the loan. Instead, Defendants sought to determine their exposure to liability if
12   there was no written agreement evidencing the loan. FAC ¶ 30.
13         In short, the factual allegations establish that Defendants failure to repay every
14   loan is no mere coincidence because Defendants actions show they knew none of the
15   loans had been repaid and they made conscious decisions to avoid repayment.
16   Therefore, this requirement has been met.
17         (2) Enterprise
18         Focus 15 has also properly plead factual allegations of the enterprise. In its
19   complaint Focus 15 alleged:
20         “Defendants formed an enterprise, NICO Corp., an association-in-fact
21         enterprise with the meaning of 18 U.S.C. § 1961(4) (the “Enterprise”).”
22   FAC ¶ 38.
23
24
25   2 As this Court is aware when this lawsuit was first filed Defendants attempted to
26   avoid service of process which caused Focus 15 to seek Court intervention for orders
     allowing Focus 15 to serve Defendants via the secretary of state (NICO) and by
27   publication (Hannula and Haller). Defendants also avoided service of process for over
     three years in the state court lawsuit filed by Focus 15 which was briefly discussed in
28   Defendants opposition to Focus 15’s motion for leave to file first amended complaint
     and in Focus 15’s reply to the opposition.
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1          18 U.S.C. § 1961(4) defines “enterprise” to include “any individual, partnership,
2    corporation, association or other legal entity, and any union or group of individuals
3    associated in fact although not a legal entity”. There is no dispute that Defendant
4    NICO is a corporation. As such this pleading requirement has been met.
5          (3) Pattern of Racketeering Activity
6          18 U.S.C § 1961(1) defines “racketeering activity” to mean, among other things,
7    “any act which is indicatable under any of the following provisions of title 18, United
8    States Code:… sections 1341(mail fraud) and 1343(wire fraud).”
9          Here, Focus 15 has plead sufficient factual allegations to establish a pattern of
10   racketeering activity because Focus 15 has plead with particularity the predicate acts
11   and the pattern that trigger the RICO claims.
12         (a) The Predicate Acts Plead by Focus 15 Satisfy Rule 9(b)
13         Predicate acts involving fraud for civil RICO claims must be pleaded with
14   particularity as required by Rule 9(b). Edwards v. Marin Park, Inc., 356 F. 3d 1058,
15   1065–66 (9th Cir. 2004). The mail and wire fraud statutes are identical except for the
16   particular method used to disseminate the fraud, and contain three elements: (A) the
17   formation of a scheme to defraud, (B) the use of the mails or wires in furtherance of
18   that scheme, and (C) the specific intent to defraud.” Eclectic Props. E., LLC v. Marcus
19   & Millichap Co., 751 F. 3d 990, 997 (9th Cir. 2014). The gravamen of the offense is
20   the scheme to defraud, and any “mailing that is incident to an essential part of the
21   scheme satisfies the mailing element,” even if the mailing itself “contain[s] no false
22   information.” Id. at 715. However, a showing of the defendants' state of mind only
23   requires general allegations, and specific intent can be established “by examining the
24   scheme itself.” Odom v. Microsoft Corp., 486 F. 3d 541, 554 (9th Cir. 2007); United
25   States v. Green, 745 F. 2d 1205, 1207 (9th Cir. 1984). Therefore, “[t]he only aspects of
26   wire fraud that require particularized allegations are the factual circumstances of the
27   fraud itself[,]” and such allegations “must identify the time, place, and manner of each
28   fraud plus the role of each defendant in each scheme.” Odom, 486 F. 3d at 554;
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1    Schreiber Distrib. Co. v. Serv-Well Furniture Co., 806 F. 2d 1393, 1401 (9th Cir.
2    1986).
3          Here, Focus 15’s RICO claims are based on the predicate acts of mail and wire
4    fraud. FAC ¶ 41. Fraud contains the following elements “(1) a misrepresentation (false
5    representation, concealment, or nondisclosure); (2) knowledge of falsity (or
6    “scienter”); (3) intent to defraud i.e. to induce reliance; (4) justifiable reliance; and (5)
7    resulting damage.” Doe v. Uber Technologies, Inc., 184 F. Supp. 3d 774, 789 (N.D.
8    Cal. 2016).
9          Focus 15 has met the pleading requirements of Rule 9(b) because Focus 15 has
10   plead with particularity the underlying fraud that gave rise to the RICO claims. First,
11   Focus 15 has adequately plead the misrepresentation because Focus 15 has plead the
12   specific misrepresentation made by Defendants i.e. that the loans would be paid back.
13   FAC ¶ 42.
14         Second, Focus 15 has adequately plead knowledge of falsity because Focus 15
15   has plead the specific factual allegations establishing Defendants knew that their
16   representations were false. FAC ¶ 43. A reasonable inference can be made that
17   Defendants did not intend to pay back the loans because Defendants have a history of
18   obtaining loans that they did not pay back. FAC ¶¶ 26-36. The suggestion that the
19   allegations that Defendants did not intend to pay back the loans cannot be true is
20   meritless because the allegations establish that Defendants’ failure to pay was
21   intended. FAC ¶¶ 18-36. The factual allegations establish that in the transactions
22   described in Focus 15’s first amended complaint, Defendants: (1) borrowed
23   money/obtained a service, (2) failed to repay, (3) knew the loan/service had not been
24   paid, and (4) either: (a) refused to pay, (b) waited for the statute of limitations to run to
25   avoid any liability, or (c) claimed payment was not necessary because the loan was not
26   in writing. FAC ¶¶ 18-36, 43.
27         In addition, to suggest that twelve interest payments of $666.66 totaling $8,000
28   shows Defendants were paying back the loans is also meritless because Defendants did
                                            9
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1    not make a single payment towards the principal on any of the loans. FAC ¶ 24.3
2    Defendants seek to downplay the distinction between an interest payment and a
3    payment towards the principal on the loan by suggesting that the distinction is one
4    “without a difference”. To the contrary, this distinction is important because an
5    interest payment is a fee paid to the lender that the borrower agrees to pay for
6    borrowing the money i.e this is not a payment towards the outstanding balance on the
7    loan. As Defendants concede they stopped making payments a month before their first
8    payment on the principal became due. See Defendants Third Party Complaint
9    (“DTPC”) at ¶ 20; See also FAC ¶¶ 18-24. In short, Defendants cannot claim they
10   were repaying the loans when they were merely paying fees for borrowing the money.
11         Third, Focus 15 has adequately plead intent to induce reliance because
12   Defendants made false promises that Defendants knew they would not keep i.e. that
13   Defendants would repay the loans. FAC ¶ 45.
14         Fourth, Focus 15 has adequately plead justifiable reliance because the loans
15   were made in good faith and there was no reason to suspect Defendants would not pay
16   back the loans. FAC ¶ 44.
17         Finally, Focus 15 has adequately plead resulting damage for Defendants
18   fraudulent scheme because Focus 15 suffered a loss of $225,000 from the loans made
19   to Defendants which Defendants did not pay back. FAC ¶ 52.
20         (b) Contractual Disputes May Support a RICO Claim
21         Here, Defendants claim that Focus 15 cannot alleged a RICO claim based on a
22   contractual dispute is meritless because “it is well settled that facts surrounding a
23   contractual dispute may support a RICO claim.” All World Professional Travel
24   Services, Inc. v. American Airlines, Inc. 282 F. Supp. 2d 1161, 1174 (C.D. Cal. 2003).
25
26
     3 As discussed in Denise Cassano’s Motion to Dismiss Defendants Third-Party
27     Complaint at pg. 4 lines 23-27, Denise Cassano made twelve interest payments of
28     666.66 according to the terms of the first promissory note totaling $8,000 (or 8% of
       the $100,000). FAC ¶ 18; See also RJN Exh. 1.
                                          10
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1    Indeed, in Sedima, S.P.R. L. v. Imrex Co., Inc., 473 U.S. 479 (1985) the United States
2    Supreme Court reversed the dismissal of a RICO complaint arising out of a contractual
3    dispute.
4          Other courts have done the same. In Arabian American Oil Co. v. Scarfone, 939
5    F. 2d 1472 (11th Cir. 1991) the 11th Circuit Court held that a Plaintiff was not
6    prohibited from bringing a federal RICO action merely because a breach of contract
7    claim existed for the same conduct. In Battlefield Builders, Inc. v. Swango, 743 F.2d
8    1060 (4th Cir. 1984) the 4th Circuit Court reversed the dismissal of a RICO claim and
9    rejected a district court’s determination that the complaint stated “at best-garden
10   variety commercial breach of contract”. In reversing the dismissal, the Circuit Court
11   reasoned:
12         “This is not a case in which a party, recognizing the need of another for
13        something that the party can provide, exacts a price in excess of what would
14        otherwise be considered fair and reasonable. This is a case in which
15        ...defendants ‘knew at the time of entering into the contract that they ... had
16        no intention [of performance]’... and in reliance on defendants' false
17        representations and their contract, plaintiff exposed itself to economic peril
18        on which defendants seized for their own economic benefit.”
19   Id. at 1063 (emphasis added).
20         Like cases cited above this is not a “garden variety breach of contract” case
21   because the factual allegations establish that Defendants engaged in a scheme to
22   defraud unsuspecting creditors, including Focus 15, by enticing them to make loans
23   through false representations that the loans would be paid back when Defendants knew
24   at the time they entered into those agreements that they did not intend to pay them
25   back. FAC ¶¶ 18-36; 30-52. In reliance on the false representations by Defendants (i.e.
26   that the loans would be paid back), Focus 15 exposed itself to economic peril in which
27   Defendants seized for their own economic benefit (the $225,000). Id.
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1          (c) Focus 15 has Adequately Plead a Pattern of Racketeering Activity
2          The pattern element requires that there “be at least two acts of racketeering
3    activity within ten years of one another.” 18 U.S.C. § 1962(c). “A substantial period of
4    time” for closed-ended continuity is more than “a few weeks or months.” H.J. Inc. v.
5    Northwestern Bell Telephone Co., 492 U.S. 229, 241 (1989). While duration is an
6    important factor in determining whether closed-ended continuity is satisfied, the Ninth
7    Circuit has declined to adopt bright-line rules based on the temporal length of a
8    scheme. Allwaste, Inc. v. Hecht, 65 F. 3d 1523, 1528 (9th Cir. 1995).
9          Here, Focus 15 has adequately plead a pattern of racketeering activity because
10   the allegations establish that Defendants engaged in a scheme to defraud at least eleven
11   (11) different creditors, including Focus 15, from 2012 through present. FAC ¶¶ 18-36,
12   39. In determining closed-ended continuity, “courts in this Circuit often consider: (1)
13   the number and variety of predicate acts; (2) the presence of separate schemes; (3) the
14   number of victims; and (4) the occurrence of distinct injuries.” McGowan v. Weinstein,
15   505 F. Supp. 3d 1000, 1012 (C.D. Cal. 2020). Here, these factors weigh in favor of
16   Focus 15 for the following reasons.
17         First, Focus 15 has sufficiently established that Defendants committed at least
18   two predicate acts because Defendants defrauded at least eleven (11) different creditors
19   including Focus 15. FAC ¶¶ 18-36. Further, the predicate acts were committed within
20   ten years of one another because Defendants committed these acts from 2012 through
21   the present. FAC ¶ 40.
22         Second, Focus 15 has sufficiently established the presence of separate schemes
23   because the factual allegations show at least eleven (11) different instances in which
24   Defendants defrauded creditors. Id.
25         Third, Focus 15 has sufficiently established that there is more than one victim
26   because Defendants defrauded at least eleven (11) different creditors including Focus
27   15. Id.
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1          Finally, each victim suffered injuries as a result because they suffered financial
2    losses as a result of Defendants failure to pay back the loans and/or pay for the services
3    rendered. For example, Focus 15 suffered $225,000 in losses because Defendants
4    failed to pay back the loans. FAC ¶ 52.
5          (4) Injury to Plaintiff’s “Business or Property”
6          Focus 15 has also properly plead factual allegations of injury to its “business or
7    property.” In its complaint Focus 15 alleged:
8          “Defendants’ pattern of racketeering activity damaged Focus 15 in the amount
9          of $225,000 of improperly obtained loan proceeds that Defendants have not paid
10         back and in an amount to be proven at trial for legal costs associated with
11         Defendants’ fraudulent scheme to accept funds with no intention of paying them
12         back.”
13   FAC ¶ 52.
14         The injury to Focus 15’s business is the loss of $225,000 which Defendants have
15   failed to pay back. As such, this requirement has been met.
16         Therefore, Focus 15 has established a prima-facie showing for civil RICO and
17   civil RICO Conspiracy, and Defendants Motion to Dismiss these causes of action
18   should be denied.
19         B. Focus 15 has Stated a Cause of Action for Violations of California
20         Business & Professions Code § 17200
21         California’s Business and Professions Code prohibits “any unlawful, unfair or
22   fraudulent business act or practice.” See Cal. Bus & Prof. Code § 17200 “The
23   requirement of pleading fraud with particularity [under Federal Rules of Civil
24   Procedure 9(b)] applies to each of the three prongs, where the claims are based on a
25   unified course of fraudulent conduct.” Rosado v. eBay Inc., 53 F. Supp. 3d 1256 (N.D.
26   Cal. 2014).
27         Here, as discussed above, Focus 15 has met the pleading requirements under
28   Rule 9 (b) because Focus 15 has plead with particularity the underlying fraud that gave
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1    rise to the RICO claims. FAC ¶¶ 18-36; 39-52. Defendants defrauded at least eleven
2    (11) different creditors, including Focus 15, by obtaining at approximately $1,130,000
3    through false promises that the creditors would be paid back. Id. As is made clear by
4    the allegations in Focus 15’s complaint, Defendants never intended to pay back those
5    loans because Defendants either (1) refused to pay back the creditor, (2) waited for the
6    statute of limitations to run to avoid any liability for failing to pay back the creditor, or
7    (3) claimed repayment was not necessary because the agreement was not in writing. Id.
8          Defendants seek to downplay scheme as mere failure to pay outstanding debts,
9    however, that is not so because the allegations establish that Defendants failure to pay
10   was intentional. Id.
11         Therefore, Focus 15 has stated a cause of action for violations of the California
12   Business & Professions Code § 17200.
13   V.    CONCLUSION
14         Defendants defrauded at least eleven (11) creditors, including Focus 15, of
15   approximately $1,130,000. Defendants seek to downplay their scheme as a simple
16   failure to pay back their debts. However, the factual allegations plead in Focus 15’s
17   first amended complaint establish that Defendants failure to repay each of those debts
18   is no mere coincidence because their failure to repay was intended. Therefore, for the
19   reasons discussed above, Focus 15 respectfully requests that this Court deny
20   Defendants’ Motion to Dismiss Focus 15’s First, Second, and Sixth causes of action.
21
22   Dated: April 29, 2022                           FORD & DIULIO PC
23
24                                                   By: /s/Brendan M. Ford_____________
                                                     Brendan M. Ford
25
26                                                   Attorney for Plaintiff FOCUS 15, LLC
                                                     and Third-Party Defendant MAURIZIO
27                                                   DONADI
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